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                                                         September 12, 2019


Clerk of the District Court
First Judicial District Court
P. O. Box 2268
Santa Fe, NM 87504‐2268


RE: Davalous Jamon Brown v. Las Cruces Police Department, City of et al., 17cv944 JB/JHR


Dear Sir or Madam:

        Please find enclosed a certified copy of the Order, along with the entire case file, remanding this
case to your Court.

        Please acknowledge receipt of these records by returning a copy of this letter to this office.



                                                 Yours truly,

                                                 Mitchell R. Elfers, Clerk

                                                 By:______/s/________
                                                   Deputy Clerk
